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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                             Judge Christine M. Arguello

Criminal Action No. 17-cr-00334-CMA

UNITED STATES OF AMERICA,

             Plaintiff,

v.


MARCO CASTRO-CRUZ,

           Defendant.
______________________________________________________________________
     GOVERNMENT REPLY TO DEFENDANT’S “OBJECTION TO PRESENTENCE
                  INVESTIGATION REPORT” (DOC. #9)
 _____________________________________________________________________________________

       The United States, by United States Attorney Robert C. Troyer, through Special

Attorney Guy Till (Government), respectfully files this Reply to Mr. Castro-Cruz’s

Objection to Presentence Investigation Report (DOC. #9)(Objection), filed December

28, 2017. The Government respectfully states and represents to the Court as follows:

       1.    The defendant’s proposed corrections and objections presented in the

Objection (DOC. #9) are essentially the same as the proposed corrections and

objections in the defendant’s Objection to Presentence Investigation Report (DOC.

#1991) filed in case number 14-cr-00144-CMA.

       2.    In the interest of economy, rather than rehearse the Government’s

response in the present case, the Government here respectfully asks to incorporate the

Government response filed in case number 14-cr-00144, and respectfully asks the

Court to consider the content of the Government Reply (DOC. #2007) filed in case
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number 14-cr-00144 as the Government’s reply to the defendant’s Objection (DOC. #9)

in the above captioned and styled case number 17-cr-00334-CMA.

      3.     Very briefly, the Government submits that the Guidelines adjustments and

calculations made by the U.S. Probation Department in the Presentence Investigation

Report are valid and are supported by evidence in the case.

      4.     The Government respectfully asks for sentences in this case and case

number 14-cr-00144-CMA consistent with the plea agreements on file for Mr. Marco

Castro-Cruz in both cases.

      Respectfully submitted this 8th day of January, 2018.

                                           ROBERT C. TROYER
                                           United States Attorney

                                   By:     s/Guy Till
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 8th day of January, 2018, I electronically filed the
foregoing GOVERNMENT REPLY TO DEFENDANT’S “OBJECTION TO
PRESENTENCE INVESTIGATION REPORT” (DOC. #9) with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to all counsel of
record in this case.



                                           s/Michelle Trujillo
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